      Case 2:22-cv-02395-JAR-TJJ Document 28 Filed 02/06/23 Page 1 of 11




                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT KANSAS
                                 AT KANSAS CITY


DEANNA OAKES AND JINGER BAKER,                     )
                                                   )
On Behalf of themselves and                        )
All Others Similarly Situated,                     )
                                                   )
                                 Plaintiffs,       )
v.                                                 )   Case No. 22-cv-2395
                                                   )
                                                   )
                                                   )
27 BISCUITS, LLC,                                  )
CCO, LLC,                                          )
                                                   )
And                                                )
                                                   )
BBR BARRY ROAD, LLC,                               )
BBR BRENTWOOD SOUTH, LLC,                          )
BBR CORPORATE WOODS, LLC,                          )
BBR GLADSTONE, LLC,                                )
BBR KICKAPOO CORNERS, LLC,                         )
BBR LAWRENCE, LLC,                                 )
BBR LENEXA, LLC,                                   )
BBR LIBERTY, LLC,                                  )
BBR MISSION, LLC,                                  )
BBR OVERLAND PARK, LLC,                            )
BBR PRAIRIE VILLAGE, LLC,                          )
BBR RAYMORE, LLC,                                  )
BBR SANTE FE SQUARE, LLC,                          )
BBR SHAWNEE, LLC,                                  )
BBR ST. JOSEPH, LLC,                               )
BBR TODD GEORGE RD, LLC,                           )
BBR TOPEKA, LLC,                                   )
BBR WESTPORT, LLC,                                 )
                                                   )
                                                   )
                                                   )
                                 Defendants.       )




                                               1
     Case 2:22-cv-02395-JAR-TJJ Document 28 Filed 02/06/23 Page 2 of 11




                             FIRST AMENDED COMPLAINT

       Plaintiff Deana Oakes, Jinger Baker and all other individuals similarly situated

collectively set forth their causes of action against 27 BISCUITS, LLC, CCO, LLC, BBR Barry

Road, LLC, BBR Brentwood South, LLC, BBR Corporate Woods, LLC, BBR Gladstone, LLC,

LLC, BBR Kickapoo Corners, LLC, BBR Lawrence, LLC, BBR Lenexa, LLC, BBR Liberty,

LLC, BBR Mission, LLC, BBR Overland Park, LLC, BBR Prairie Village, LLC, BBR Raymore,

LLC, BBR Sante Fe Square, LLC, BBR Shawnee, LLC, BBR St. Joseph, LLC, BBR Todd

George Rd, LLC, BBR Topeka, LLC, BBR Westport, LLC (hereinafter collectively referred to

as Defendants, or “The Big Biscuit,” under § 216(b) of the Fair Labor Standards Act (“FLSA”)

for violations of the FLSA. In support thereof, the Plaintiff asserts and states as follows:




                                                2
        Case 2:22-cv-02395-JAR-TJJ Document 28 Filed 02/06/23 Page 3 of 11




                                    PRELIMINARY STATEMENT

        1.        Plaintiff, on behalf of themselves and all others similarly situated, bring this action

against Defendants for unpaid minimum wage and overtime compensation, and related penalties

and damages.

        2.        Defendants’ policy and practice is to deny minimum wages and overtime pay to

servers working at its restaurants. Defendants’ failure to pay employees their earned wages and

overtime compensation violates the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq.

        3.        This lawsuit is brought as a collective action pursuant to 29 U.S.C. § 216(b) of the

FLSA.

        4.        Plaintiffs and others similarly situated bring this action against T he Bi g

Bi scu i t , for unpaid wages, and related penalties and damages.

        5.        Defendants’ practices and policies have resulted in Defendants willfully failing to

properly pay straight time and overtime due and owing to Plaintiffs and all other similarly situated

employees in violation of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq.

        6.        Further, Defendants have received the benefits of the work of the Plaintiffs

and others similarly situated, and failed to compensate them for the reasonable value of

these services.

        7.        Defendants have claimed the tip credit on the Plaintiffs and other similarly

situated employees, despite not actually giving them adequate required notice and/or requiring

servers to spend more than 20% of their workday/workweek engaged in non-tip-producing

activities. Thus, the Defendants is in violation of the FLSA and its tip credit requirements, and

therefore, haves failed to pay their putative Plaintiffs their due minimum wage and overtime as

required by the Act.



                                                    3
       Case 2:22-cv-02395-JAR-TJJ Document 28 Filed 02/06/23 Page 4 of 11




        8.       Defendants have failed to pay wages and overtime to its hourly employees by

failing to pay them for all of their compensable time in violation of the FLSA. Plaintiffs and

others similarly situated seek compensation for unpaid straight time and overtime premiums for

all hours worked, required, suffered, or permitted by the Defendants; compensation for such

wages wrongfully withheld; liquidated and/or other damages as permitted by applicable law; and

attorneys’ fees, costs, and expenses incurred in this action.

                                  JURISDICTION AND VENUE

        9.       This Court has original federal question jurisdiction under 28 U.S.C. §§ 1331 and

§ 1337.

        10.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), inasmuch as the

Defendants conducts business, and has substantial business contacts in Johnson County, Kansas,

and because a substantial part of the events or omissions giving rise to the claims occurred in this

judicial district.



                                             PARTIES

        11.      Plaintiff Oakes is a resident of Clay County, Missouri.

        12.      Plaintiff Baker is a resident of Wyandotte County, Kansas.

        13.      At all relevant times, Plaintiffs were employed as servers for Defendants.

        14.      27 Biscuits, LLC, and CCO, LLC are limited liability corporations under the laws

of Kansas, with its principal place of business located in the State of Kansas. Upon information

and belief, 27 Biscuits, LLC, and CCO, LLC own and operate restaurants in Kansas, Missouri and

Oklahoma.




                                                  4
      Case 2:22-cv-02395-JAR-TJJ Document 28 Filed 02/06/23 Page 5 of 11




       15.     BBR Corporate Woods, LLC, BBR Lawrence, LLC, BBR Lenexa, LLC, BBR

Mission, LLC, BBR Overland Park, LLC, BBR Prairie Village, LLC, BBR Shawnee, LLC, BBR

Topeka, LLC, and BBR Westport, LLC, are corporations organized under the laws of Kansas, with

its principal place of business located in the State of Kansas. Upon information and belief, The

Big Biscuit, LLC owns and operates BBR Corporate Woods, LLC, BBR Lawrence, LLC, BBR

Lenexa, LLC, BBR Mission, LLC, BBR Overland Park, LLC, BBR Prairie Village, LLC, BBR

Shawnee, LLC, BBR Topeka, LLC, and BBR Westport, LLC restaurants in Kansas.

       16.     BBR Barry Road, LLC, BBR Brentwood South, LLC, BBR Gladstone, LLC, BBR

Kickapoo Corners, LLC, BBR Liberty, LLC, BBR Raymore, LLC, BBR St. Joseph, LLC, and

BBR Todd George Rd, LLC are corporations organized under the laws of Missouri, with its

principal place of business located in the State of Kansas. Upon information and belief, The Big

Biscuit, LLC owns and operates BBR Barry Road, LLC, BBR Brentwood South, LLC, BBR

Gladstone, LLC, BBR Kickapoo Corners, LLC, BBR Liberty, LLC, BBR Raymore, LLC, BBR

St. Joseph, LLC, and BBR Todd George Rd, LLC restaurants in Missouri.

       17.     BBR Sante Fe Square, LLC is a corporation organized under the law of Oklahoma,

with its principal place of business located in the State of Kansas. Upon information and belief,

The Big Biscuit, LLC owns and operates BBR Sante Fe Square, LLC restaurant in Oklahoma.

       18.     Hereinafter, the entities will collectively be referred to as The Big Biscuit, unless

otherwise delineated.

       19.     At all times relevant to this action, The Big Biscuit owned and/or operated

restaurants called The Big Biscuit that serve breakfast and lunch cuisine to their customers.

       20.     At all times relevant to this action, The Big Biscuit entities acted as an integrated

enterprise within the meaning of the FLSA.



                                                 5
       Case 2:22-cv-02395-JAR-TJJ Document 28 Filed 02/06/23 Page 6 of 11




       21.     At all times relevant to this action, The Big Biscuit entities shared common

ownership, unified operations.

       22.     At all times relevant to this action, The Big Biscuit entities were engaged in related

activities, specifically, the operation of restaurants with common menus, corporate organization,

and employment practices and policies.

       23.     At all times relevant to this action, The Big Biscuit entities have been and continue

to be linked by a common business purpose, specifically providing food service to customers.

       24.     At all times relevant to this action, The Big Biscuit entities have had centralized

control over labor relations because of common ownership and control.

       25.     At all relevant times herein, Defendants operated restaurants in Kansas.

       26.     At all relevant times, Defendants as the employer of Plaintiffs, and all other

similarly situated employees, are thus liable to Plaintiff, and all others similarly situated, as an

employer, joint employer, single employer and/or otherwise according to statutory and common

law.

                          COLLECTIVE ACTION ALLEGATIONS

       27.     Plaintiffs brings Count I, the FLSA claim for servers and/or bartenders, as an “opt-

in” collective action pursuant to 29 U.S.C. § 216(b) on behalf of themselves and of the following

class of persons:

       All The Big Biscuit servers employed by Defendants, within three years from the
       commencement of this action who have not been paid minimum wage for all hours worked
       and/or have not been properly paid overtime compensation, at one-and-one-half times the
       minimum wage, for all work performed in excess of forty hours per week.

       28.     The FLSA claim may be pursued by those who opt in to this case, pursuant to 29

U.S.C. § 216(b).




                                                 6
       Case 2:22-cv-02395-JAR-TJJ Document 28 Filed 02/06/23 Page 7 of 11




        29.    Plaintiffs, individually and on behalf of all other similarly situated employees, seek

relief on a collective basis challenging Defendants’ FLSA violations. The number and identity of

other plaintiffs yet to opt in and consent to be party plaintiffs may be determined from the records

of Defendants, and potential class members may easily and quickly be notified of the pendency of

this action.

        30.    To the extent required by law, notice will be provided to said individuals via first

class mail, email and/or by the use of techniques and a form of notice similar to those customarily

used in representative actions.

                                             COUNT I
                           Violation of the Fair Labor Standards Act
                    (Brought Against Defendants by Plaintiff Individually
                       and on Behalf of All Others Similarly Situated)
        31.    Plaintiffs re-allege the allegations as set forth above.

        32.    At all times material herein, Plaintiffs have been entitled to the rights, protections,

and benefits provided under the FLSA, 29 U.S.C. §§ 201, et seq.

        33.    The FLSA regulates, among other things, the payment of minimum wage and

overtime pay by employers whose employees are engaged in interstate commerce, or engaged in

the production of goods for commerce, or employed in an enterprise engaged in commerce or in

the production of goods for commerce. 29 U.S.C. § 207(a)(1).

        34.    Defendants are subject to the minimum wage and overtime pay requirements of the

FLSA because each is an enterprise engaged in interstate commerce and its employees are engaged

in commerce.

        35.    At all relevant times, Defendants have been, and continue to be “employers” within

the meaning of the FLSA, 29 U.S.C. § 203.



                                                  7
      Case 2:22-cv-02395-JAR-TJJ Document 28 Filed 02/06/23 Page 8 of 11




       36.     At all relevant times, Defendants have employed, and/or continue to employ,

“employee[s],” including Plaintiffs and all similarly situated employees.

       37.     At all times relevant herein, Defendants had gross operating revenues in excess of

$500,000.00 (Five Hundred Thousand Dollars).

       38.     Plaintiffs were employed by Defendants. During this time frame, Plaintiffs

performed work for Defendants in the position of servers.

       39.     During the statutory period, Plaintiffs were paid an hourly wage of $2.13 per hour,

and received tips.

       40.     Prior to and during Plaintiffs’ employment with Defendants, Defendants employed

numerous other servers who had the same job duties and compensation structure as Plaintiffs.

       41.     Plaintiffs and all similarly situated employees have substantially similar job

requirements and pay provisions, and are subject to Defendants’ common policy and practice of

refusing to correctly pay minimum wages and overtime wages in violation of the FLSA.

       42.     The FLSA requires employers, such as Defendants, to compensate all non-exempt

employees overtime compensation, at a rate of not less than one-and-one-half the minimum wage,

for work performed in excess of forty hours in a work week.

       43.     Plaintiffs and all similarly situated employees are not exempt from the right to

receive the Federal minimum wage and overtime pay under the FLSA and are not exempt from

the requirement that their employer pay them minimum wage and/or overtime compensation under

the FLSA.

       44.     At all relevant times, Defendants had a policy and practice of failing to properly

pay minimum wages because Defendants have violated the rules for using the tip credit, including

that it requires servers to spend more than 20 percent of their time engaged in non-tip-producing



                                                8
       Case 2:22-cv-02395-JAR-TJJ Document 28 Filed 02/06/23 Page 9 of 11




activities and/or failed to properly inform them of its intent to take a credit against tipped

employees’ wages.

        45.      At all relevant times, Defendants also had a policy and practice of failing to

properly pay minimum wages because Defendants had a policy and plan of requiring servers to

pool their tips with non-tip-earning employees.

        46.      Defendants’ failure to properly compensate Plaintiffs and all others similarly

situated under the tip credit rules and overtime rules constitutes a violation of the Fair Labor

Standards Act’s minimum wage requirements, 29 U.S.C. §§ 201, et. seq.

        47.      Defendants’ violation of the FLSA is continual in nature; in that Defendants

continue to pay their servers under the same unlawful policies and procedures that are set forth in

detail herein.

        48.      Defendants’ conduct constitutes a willful violation of the FLSA within the meaning

of 29 U.S.C. § 255(a).

        49.      Defendants have acted neither in good faith nor with reasonable grounds to believe

that its actions and omissions were not a violation of the FLSA, and as a result thereof, Plaintiffs

and other similarly situated employees are entitled to recover an award of liquidated damages in

an amount equal to the amount of unpaid overtime described pursuant to Section 16(b) of the

FLSA, codified at 29 U.S.C. § 216(b). Alternatively, should the Court find Defendants did not act

willfully in failing to pay overtime pay, Plaintiffs and all similarly situated employees are entitled

to an award of prejudgment interest at the applicable legal rate.

        50.      As a result of the aforesaid violations of the FLSA’s tip credit and overtime pay

provisions, proper minimum wage and overtime compensation has been unlawfully withheld by

Defendants from Plaintiffs and all similarly situated employees. Accordingly, Plaintiffs, and all



                                                  9
      Case 2:22-cv-02395-JAR-TJJ Document 28 Filed 02/06/23 Page 10 of 11




others similarly situated, seek damages in the amount of all respective unpaid minimum wage and

overtime, plus liquidated damages, pre-judgment and post-judgment interest, reasonable attorneys’

fees, costs, and expenses incurred in this action, to be paid as provided by the FLSA, 29 U.S.C. §

216(b), and such other legal and equitable relief as the Court deems just and proper,

       WHEREFORE, Plaintiffs and all similarly situated employees demand judgment against

Defendants and pray this Court:

       a.      Issue notice to all similarly situated employees of Defendants informing them of

               their right to file consents to join the FLSA portion of this action:

       b.      Award Plaintiffs and all similarly situated employees compensatory and liquidated

               damages under 29 U.S.C. § 216(b);

       c.      Award Plaintiffs, and all similarly situated employees, pre-judgment and post-

               judgment interest as provided by law;

       d.      Award Plaintiffs and all similarly situated employees’ attorneys’ fees and costs as

               allowed by Section 216(b) of the FLSA;

       e.      Issue a declaration that Defendants have violated state and federal law; and

       f.      Award Plaintiffs and all similarly situated employees such other relief as the Court

               deems fair and equitable.

                                      Designation of Place of Trial


       Plaintiffs hereby designate the place of trial to be the United States District Court for the

District of Kansas at Kansas City.


                                              Respectfully submitted,

                                              THE HODGSON LAW FIRM, LLC

                                              /s/ Michael Hodgson

                                                 10
Case 2:22-cv-02395-JAR-TJJ Document 28 Filed 02/06/23 Page 11 of 11




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                                11
